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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS



ARENA IP, LLC,

     Plaintiff,

         v.
                                    Civil Action No. 1:23-cv-13006-MJJ
NEW ENGLAND PATRIOTS LLC,

     Defendant.




       DEFENDANT NEW ENGLAND PATRIOTS LLC’S SUPPLEMENTAL
           BRIEF IN SUPPORT OF THE MOTION TO DISMISS FOR
           FAILURE TO STATE A CLAIM BASED ON 35 U.S.C. § 101
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       The claims of the sole asserted patent in this action—U.S. Patent No. 8,320,820 (the “’820

patent”)—are directed to an abstract idea that is ineligible for patent protection—namely,

providing Wi-Fi access in a public venue. The Supreme Court has repeatedly emphasized that

such ideas cannot be removed from the public domain and owned as private property because they

are basic tools in the “storehouse of knowledge” that are “free to all . . . and reserved exclusively

for none.” Bilski v. Kappos, 561 U.S. 593, 602 (2010); see also Alice Corp. Pty. v. CLS Bank Int’l,

573 U.S. 208, 216-18 (2014). Here, Plaintiff Arena IP, LLC (“Arena IP”) attempts to preempt the

entire concept of Wi-Fi access in public venues, alleging that a range of companies (including

Extreme Networks, Verizon, AT&T, Aruba Networks, Cisco, Ericsson, Boingo Wireless,

CommScope, and the Minnesota Vikings) infringe its patent with no regard to how each

implements such Wi-Fi access. But the patent laws do not allow such broad assertions. Indeed,

district courts across the country, including this Court, have consistently invalidated similarly

overbroad patents asserted by Plaintiff’s counsel,1 ending his improper litigation campaigns.2

       The claims of the ’820 patent are invalid under 35 U.S.C. § 101. Thus, Defendant New

England Patriots LLC (the “Patriots”) respectfully requests the Court dismiss this case.


1
  See Riggs Tech. Holdings v. Cengage Learning, Inc., 581 F. Supp. 3d 357, 361 (D. Mass. 2022)
(finding patent asserted by Ramey LLP invalid under § 101), aff’d 2023 WL 193162 (Fed. Cir.
Jan. 17, 2023); see also, e.g., Street Spirit IP, LLC v. Meta Platforms, Inc., __ F. Supp. 3d __, 2023
WL 4869594 (N.D. Cal. Jul. 31, 2023) (same); EscapeX IP LLC v. Block, Inc., 652 F. Supp. 3d
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Cal. Oct. 18, 2023) (same); Front Row Techs., LLC v. Cisco Systems, Inc., No. 6:23-cv-00035-
AM (W.D. Tex. Sep. 13, 2023) (same); NetSoc, LLC v. Match Group, LLC, No. 3:18-cv-01809-N
(N.D. Tex. Jul. 22, 2019) (same).
2
  See, e.g., EscapeX IP LLC v. Google LLC, No. 22-cv-08711-VC, 2023 WL 5257681 (N.D. Cal.
Aug. 16, 2023) (finding plaintiff tried to “force a modest settlement by pestering [defendant] with
a frivolous suit on the assumption that [defendant] will prefer to capitulate than fight back.”);
NetSoc, LLC v. Chegg Inc., No. 18-cv-10262 (RA), 2020 WL 7264162 (S.D.N.Y. Dec. 10, 2020)
(“Plaintiff ignored the deficiency in its pleading”); WPEM, LLC v. SOTI Inc., No. 2:18-cv-00156-
JRG, 2020 WL 555545, at *6 (E.D. Tex. Feb. 4, 2020) (plaintiff “conducted no pre-filing
investigation at all into the validity and enforceability of the Asserted Patent”), aff’d 837 F. App’x
773 (Fed. Cir. 2020).


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I.     THIS CASE SHOULD BE DISMISSED UNDER THIS COURT’S PRECEDENT

       “‘Whether a claim is drawn to patent-eligible subject matter under 35 U.S.C. § 101 is an

issue of law.’” Integrated Tech. Sols., LLC v. Iracing.Com Motorsport Simulations, LLC, 630 F.

Supp. 3d 276, 281 (D. Mass. 2022) (quoting Content Square SAS v. Decibel Insight Ltd., 552 F.

Supp. 3d 165, 172 (D. Mass. 2021)). “Though the usual basis for a 12(b)(6) motion is the

plaintiff’s failure to plead sufficient facts in its complaint, a motion to dismiss may sometimes be

premised on the inevitable success of an affirmative defense, such as patent invalidity.” Riggs,

581 F. Supp. 3d at 360 (citations and quotations omitted). “Dismissal is warranted if the only

plausible reading of the patent the plaintiff alleges was infringed is one that demonstrates that the

patent claims cover subject matter that is not eligible for patenting.” Id.

       To determine patent-ineligibility under § 101, the Supreme Court in Alice set forth the now

familiar two-step test. At step one, the court must determine whether the character of the claims

at issue, as a whole, are directed to an abstract idea. 573 U.S. 208 at 221-27. At step two, the

court considers whether the elements of the claims, individually or in combination, add no

inventive concept. Id. Here, the language of the claims, specification of the patent, allegations in

the Complaint, and even Arena IP’s Opposition all confirm that the ’820 patent cannot pass the

Alice test. Doc. No. 20 at 14-22 (Defendant’s Motion); Doc. No. 25 at 8-16 (Defendant’s Reply).

       First, the focus of the claims is plainly directed to the abstract idea of providing Wi-Fi

access in a public venue. In the computer networking context, this inquiry can turn on whether

the claims focus on “a specific improvement in computer capabilities, rather than an abstract idea

for which computers are invoked merely as a tool.” Riggs, 581 F. Supp. 3d at 361 (quotations

omitted). As the Opposition repeatedly acknowledges, “the present invention” is no more than

“communications nodes set up to establish a communication network within public venues




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including sports and entertainment venues.” Doc. No. 23 at 15. Indeed, the “problem” that the

patent seeks to solve is merely “a need to provide systems that can enable video and data

communications with multiple wireless hand held devices for older entertainment venue.” Id.

Thus, the ’820 patent does not solve a technological problem or improve computer technology;

instead, the ’820 patent uses routine, generic networking capabilities as a tool. See Smart Software,

Inc. v. PlanningEdge, LLC, 192 F. Supp. 3d 243, 246 (D. Mass. 2016) (“courts will [] look for an

improvement to the functioning of the computer itself”).

       Second, the claims merely implement this abstract idea using generic computer

technology—“hand held wireless device,” “server,” “wireless communications electronics,”

“integrated antennae,” “communication nodes”—and therefore do not contain an inventive

concept sufficient to confer eligibility. The patent itself admits that these are off-the-shelf generic

components. ’820 patent at 3:38–42 (“Wireless repeaters . . . [including] stand-alone 802.11

wireless repeaters on the market,” and “access points [that] have a built-in repeater mode.”). In

fact, this Court has also confirmed that such component are conventional. See KCG Techs., LLC

v. Carmax Auto Superstores, Inc., 424 F. Supp. 3d 196, 202 (D. Mass. 2019) (granting dismissal

where patent “merely discloses conventional computer components . . . that include a computer

network, the Internet, Bluetooth, WiFi, and cellular technology”).

II.    THIS COURT HAS FOUND FAR MORE DETAILED CLAIMS ABSTRACT

       The claims of the ’820 patent are far more abstract than the claims of other patents this

Court has found unpatentable. For example, in Riggs Technology Holdings, LLC v. Cengage

Learning, Inc., the Court addressed the patentability of claims directed to “Methods and Systems

for Managing the Provision of Training Provided Remotely Through Electronic Data Networks to

Users of Remote Electronics Devices.” 581 F. Supp. 3d at 359. Claim 1 of the Riggs patent and




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the ’820 patent are shown below.

 Riggs Patent                                      U.S. Patent No. 8,320,820
 1. A method of managing training completed        1. A system providing communications
 remotely at a hand held device, said method       capacity and supporting the communications
 comprising the step of:                           of video and data to hand held wireless
                                                   devices located throughout a sports and
 receiving at a training server training data entertainment venue, comprising:
 transmitted to the training server through a
 data network from a user of a hand held at least one server managing data including
 device, the training data representing training video of various perspectives of an activity
 taken by the user at [sic] hand held device;      captured by video cameras located throughout
                                                   the sports and entertainment venue; and
 receiving identifying information for the user
 of a hand held device concurrently with the more than one self-contained pod including
 training data file;                               wireless communications electronics and an
                                                   integrated antennae for said self-contained
 identifying the user of the hand held device;     pod to operate as a wireless access point
                                                   sustaining bi-directional communication with
 authenticating the identify [sic] of the user of said at least one server,
 the hand held device by requesting
 authentication data from the user and said more than one self-contained pod
 comparing the authentication data with a deployed as a matrix of communications
 master user identification template nodes throughout a sports and entertainment
 containing authentication data associated with venue to provide enhanced communications
 the user and accessible by the training server to capacity for and data network access by said
 determine if said comparison authenticates the hand held wireless devices being used by
 user's identify [sic] as an authorized trainee;   spectators located throughout the sports and
                                                   entertainment venue and providing access to
 recording the training data in memory said data from the at least one server to said
 associated with the training server;              hand held wireless devices in use by the
                                                   spectators.
 locating at least one training file contained
 within the training data;

 determining status of the training file by
 comparing the training file with an associated
 master training template accessible from
 memory by the training server, the status
 including a determination if training
 represented by the training file meets a set
 criterion including at least one of: pending,
 incomplete, failed, passed; and

 recording training status in memory.




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       At Alice step one, the Court considered the “elements of the claims and their character as

a whole” and found that the claimed “advance” describes “an existing process (providing and

managing training) and propose[s] using existing technology (devices which access networks and

servers remotely and wirelessly) to achieve the abstract end-result at the heart of the patent

(providing wireless, remote access to training programs).” Id. The analysis is materially same

here. The claimed advance—“video and data communications . . . for older entertainment venues,”

Opp. at 2—describes an existing process (providing Wi-Fi access through communication nodes)

and proposes using existing technology (off-the-shelf Wi-Fi access points or repeaters) to achieve

the abstract end-result at the heart of the patent (providing Wi-Fi access in a public venue).

       At Alice step two, the Court considered whether the claims contain an “inventive concept

that can transform the abstract idea” and found that “the claimed components and features (e.g.,

‘training data,’ ‘server,’ ‘data network,’ ‘identifying information,’ ‘hand held device,’ and

‘authentication data’)—none of which Riggs claims to have invented—are all generically defined

and conventional.” Id. at 362. Likewise, here, there is no inventive concept. The “self-contained

pod” is generically defined as “including wireless communications electronics and an integrated

antennae . . . to operate as a wireless access point.” ’820 patent at cl. 1. And the “server” and

“matrix of communication nodes” are conventional components and features. Id.

       The ’820 patent fails to claim patentable subject matter under the same analysis this Court

conducted in Riggs—an analysis the Federal Circuit has affirmed. Riggs, 2023 WL 193162, at *4

(finding the “patent’s specification admits that the claim elements are well-understood, routine,

and convention, and thus the district court did not err in dismissing Rigg’s complaint”).

III.   CONCLUSION

       Accordingly, the Court should dismiss the Amended Complaint with prejudice.




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Dated: December 22, 2023              Respectfully submitted,

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